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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF ALABAMA
                             NORTHERN DIVISION

UNITED STATES OF AMERICA,                  )
                                           )
v.                                         )       CASE NO. 2:04CR214-A
                                           )       [WO]
DONNEL EDWARDS                             )




                                ORDER ON MOTION

       On 28 April 2005, the probation officer filed a Petition to Revoke the defendant’s

pretrial supervision (Doc. # 145). The court conducted an evidentiary hearing on the petition

on 10 May 2005. Upon consideration of the petition and the evidence and arguments

advanced at the hearing, and for good cause, it is

       ORDERED that the petition is denied. The defendant, who has been confined since

his arrest, shall be RELEASED pending his trial for the reasons stated on the record in open

court. It is further ORDERED as follows:

       1.     Pending his trial, the defendant shall reside with his mother at her residence.

       2.     The defendant shall report, in person, to his probation officer at least two time

              each week, on a schedule to be set by the probation officer.

       3.     The defendant shall continue to be subjected to random drug testing.

       4.     If the defendant tests positive for drugs (controlled substances), the court will

              revoke his release and confine him to jail pending his trial.

       5.     If the defendant fails to report to his probation officer on any one occasion, the
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       court will revoke his release and confine him to jail pending his trial.

 6.    The defendant’s travel shall be limited to the Middle District of Alabama.

 DONE this 11th day of May, 2005.




                                    /s/ Vanzetta Penn McPherson
                                    VANZETTA PENN MCPHERSON
                                    UNITED STATES MAGISTRATE JUDGE
